     Case 2:20-cv-10530-JVS-AGR Document 17 Filed 09/24/21 Page 1 of 1 Page ID #:223



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 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
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11    BERNARD BURTON,                         )     No. CV 20-10530-JVS (AGR)
                                              )
12                         Petitioner,        )
                                              )     ORDER ACCEPTING FINDINGS AND
13        v.                                  )     RECOMMENDATION OF UNITED
                                              )     STATES MAGISTRATE JUDGE
14    CRAIG KOENIG,                           )
                                              )
15                         Respondent.        )
                                              )
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17             Pursuant to 28 U.S.C. § 636, the Court has reviewed the entire file de novo,
18    including the magistrate judge’s Report and Recommendation. No objections to the
19    Report have been filed. The Court accepts the findings and recommendation of the
20    Magistrate Judge.
21             IT IS ORDERED that Respondent’s motion to dismiss the Petition for Writ of
22    Habeas Corpus is granted without prejudice to Petitioner’s ability to file a complaint
23    under 42 U.S.C. § 1983. The court expresses no view on the merits of such a civil
24    rights complaint.
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26    DATED: September 24, 2021
                                                       JAMES V. SELNA
27                                                 United States District Judge
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